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                    EXHIBIT 1
                                                                        Exhibit 1
                                                                            10
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                                           RECEIVED FOR SCANNING
Of'                                         VENTURA SUPERIOR COURT

                                                 APR -3 2017
             FELICIA AND LILOI TUITAMA
         1   P.O. BOX 506
             BOWDON, GA 30108-0506
         2   Tel: (805) 983-1448
             Fax: (805) 642-1287
         3
             Parties in pro per
         4

         5
         6

         7

         8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
         9                                      COUNTY OF VENTURA
        10
             FELICIA TUITAMA, an individual; and            Case No.:
        11   LILOI TUITAMA, an individual,
                                                            VERIFIED COMPLAINT FOR:
        12                   Plaintiffs,
                                                            1. Wrongful Foreclosure
        13             vs.                                  2. Cancellation of Instruments
                                                            3. Quiet Title
        14   U.S. BANK NATIONAL ASSOCIATION,
             AS TRUSTEE FOR LEHMAN XS
        15   TRUST MORTGAGE PASS-THROUGH                     DEMAND FOR JURY TRIAL
             CERTIFICATES, SERIES 2005-5N, a
        16   corporation; NATIONSTAR
             MORTGAGE, LLC, a corporation; NBS
        17   DEFAULT SERVICES, LLC, a
             corporation; SAGE POINT LENDER
        18   SERVICES, LLC (SPLS), a corporation;
             and DOES 1-10,
        19
                             Defendants
        20
        21
                                                    INTRODUCTION
        22
             Married Plaintiffs Liloi and Felicia Tuitama suffered an unlawful foreclosure on their house
        23
             at 1831 Devonshire Drive, Oxnard, CA 93030. Plaintiffs now seek equitable and legal relief.
        24
             On information and belief, Plaintiffs therefore now complain and allege as follows:
        25                                         1 JURISDICTION
        26          1. In actions on foreclosures, mortgages, and real property interests, the superior
        27   court in the county where that real property is located is proper. (California Code of Civil
        28   Procedure, section 392(a)(1-2)). This court is therefore the proper court.



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       1
                                           2. DEMAND FOR JURY TRIAL
                  2. Plaintiffs reallege Paragraphs 1-1.
       2
                  3. Plaintiffs demand jury trial on all causes and issues.
       3
                                                      a. PARTIES
       4
                  4. Plaintiffs reallege Paragraphs 1-3.
       5          5. Plaintiffs Felicia and Liloi Thitama (Plaintiffs) are and were at all times citizens and
       6   residents of Bowdon, Georgia, who owned the real property located at 1831 Devonshire Dr.
       7   Oxnard, CA 93030 (the Property), since 2002, by virtue of a 05/02/2002 deed of trust that
       8   enumerated the Property's legal description as follows:
       9
                All that certain real property situated in the County of Venture, State of California,
      10        described as follows: Lot 230 of Tract No. 3051-3, in the City of Oxnard, County of
      11        Venture, State of California, as per map recorded In Book 112, Page(s) 11 through 17
                inclusive of maps, in the office of the County Recorder of said County. Except
      12
                therefrom the interest conveyed to Helen M. Borchard, Frances John Henson, Margaret
      13        Mary Anderson and Ralph William Borrchard, Jr., in and to the oil, gas, other
      14        hydrocarbon substances and minerals in and under said land, but without the right to
               enter on the surface thereof or within five hundred (500) feet beneath the surface as
      15
               conveyed in the office of the County Recorder of said County. Deed recorded
      16       December 23, 1980 in Book 5801, page 35, of Official Records and as reserved in deed
      17       recorded January 30, 1981 as document No. 9998 and 10002 of Official Records. Also
               except the interest conveyed to Vincent Friedrich, Ellen C. Derricks, Barbara M.
      18
               Friedrich, Mary Patrician Douglas, Betty Ann Dempsey and Jeanne M. Friedrich in and
      19       to the oil, gas, other hydrocarbon substances and minerals in and under said land but
               without the right to enter on the surface thereof or within five hundred (500) feet
      20
               beneath the surface as conveyed in deed recorded December 23, 1980 in Book 5801,
      21       page 38 official records and as reserved in deeds recorded January 30, 1981 as
      22       document No. 999, 10000, and 10002. Also except the interest conveyed to Margaret
               D. Borchard, Francis Robert Borchard and Joseph Eugene Borchard in and to the oil,
      23
               gas other hydrocarbon substances and minerals in and under said land but without the
      24       right to enter on the surface thereof or within five hundred (500) feet beneath the
      25       surface as conveyed in deed recorded December 30, 1980 in Book 5804, page 774,
               official records and as reserved in deed Recorder January 30, 1981 as document No.
      26
               9998 and 10002. Assessor's Parcel Number 181-0-171-055
      27
      28




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              (Tuitama V. U.S. Bank, National Association, et al — Plaintiffs' First Verified Complaint)


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                    6. On 08/24/2005, Plaintiffs refinanced in a Deed of Must ("DOT") that designated
       1
            Plaintiffs as Borrowers, America's Wholesale Lender (AWL) as Lender, and Recontrust as
       2
           Mystee. Plaintiffs attached and incorporate a true copy of that DOT as Exhibit 9.
       3
                    7. Defendant U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR LEHMAN
       4
           XS TRUST MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-5N ("USBNA")
       5    is and was at all relevant times a business entity, exact form unknown.' USBNA now claims, as
       6   trustee to Lehman XS Trust Mortgage Pass-Through Certificates, Series 2005-5N (the Must), to
       7   own The Property.
       8            8. Defendant NATIONSTAR MORTGAGE, LLC ("Nationstar") is and was at all times a
       9   Delaware corporation, form unlmown.2 Nationstar claims to be the DOT servicer.

      10            9. Defendant NBS DEFAULT SERVICES, LLC ("NBS") is and was at all times a
           California business entity, form unknown.3 NBS now claims to be the DOT Trustee. Plaintiffs
      11
           allege that NBS never been the beneficiary, lender, original trustee, or the designated agent of the
      12
           beneficiary.' Despite this, NBS recorded a 12/08/2016 Notice of Default' ("NOD") and sold
      13
           Plaintiffs' house at a trustee sale (Sale) on 04/05/2016.
      14
                   10. Defendant SAGE POINT LENDER SERVICES, LLC (SPLS) is a California
      15
           business entity, exact form unknown.' Plaintiffs allege that SPLS has never been the beneficiary,
      16   lender, original trustee, or the designated agent of the beneficiary. Despite this, SPLS recorded a
      17   07/24/2014 Notice of Default, a true copy of which Plaintiffs attached as Exhibit 16.
      18           11.True names and capacities of DOES 1-10 remain to Plaintiffs unknown; until
      19   Plaintiffs discover these, they sue said Defendants by such fictitious names. When the Plaintiffs

      20   do ascertain true names and capacities of DOES 1-10, Plaintiffs will seek leave of court to
           amend this complaint to reflect that new information.
      21
                   12. Plaintiffs are informed, believe, and thereon allege that at all relevant times, the
      22
           Defendants were agents, employees, and/or servants of remaining Defendants, and that
      23
           Defendants acted in course/scope of such agency, employment and/or servancy.
      24
      25
           1 USBNA maintained at all times its principal business place at 1 Federal Street, Boston, MA. 02110.
      26   2 Nationstar at all times maintained its principal business place at 8950 Cypress Waters, Coppell, TX 75019.
           3 NBS at all times had its principal business place at 14841 Dallas Parkway, Suite 300, Dallas, TX 75254.
      27   4 NBS is not and was not a party to Exhibit 9 and realized no interests or rights from it.
      28   5 Plaintiffs attached a true copy of that NOD as Exhibit 19 and incorporate it here.
           6 SPLS at all times maintained its principal business place at 27201 Puena Real, Mission Viejo, CA 92691.




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                                                   4. STATEMENT OF FACTS
      1
                   33. Plaintiffs reallege Paragraphs 1-12.
       2
                   14. California Civil Code section 2924(aX6) provides that:
      3
                    No entity shall record or cause a notice of default to be recorded or otherwise
       4            initiate the foreclosure process unless it is the holder of the beneficial interest
                    under the mortgage or deed of trust, the original trustee or the substituted trustee
       5            under the deed of trust, or the designated agent of the holder of the beneficial
       6            interest. No agent of the holder of the beneficial interest under the mortgage or
                    deed of trust, original trustee or substituted trustee under the deed of trust may
       7            record a notice of default or otherwise commence the foreclosure process except
                    when acting within the scope of authority designated by the holder of the
       8            beneficial interest." California Civil Code section 2924(a)(6).
       9
                   15. Plaintiffs on knowledge and belief allege that Defendants USBNA, Nationstar, NBS,
      10
           and SPLS have never been the DOT beneficiary, lender, original trustee, or designated agent of
      11
           the holder of the beneficial interest.
      12           16. Plaintiffs allege that USBNA, Nationstar, NBS, and SPLS were not , each and all,
      13   legally incompetent under California Civil Code section 2924(aX6) to record notices of default
      14   against Plaintiffs or the Property on 07/24/2014 and 12/08/2016.
      15           17. Plaintiffs further allege that when NBS recorded Ventura County Recorder Instrument
      16   20161208-00181851-0 (Exhibit 19), NBS's recordation was a violation of California Civil Code

      17   section 2924(aX6), and not lawful, consistent with the meaning of California Civil Code § 1667.
           The NBS 12/08/2016 Notice of Default (20161208-00181851-0) was for these reasons void.
      18
                   18. Plaintiffs allege that no Defendant here at any time had legitimate beneficial interest,
      19
           estate, lien, right, or title in the Property, nor did any ever have lawful authority or power of sale.
      20
                   19.The lender under the DOT (Exhibit 9) was America's Wholesale Lender ("AWL").
      21
           AWL was a Countrywide unit, but not registered as a corporation in California. Regardless,
      22   Countrywide ran AWL as a subordinate entity, in whatever form.
      23           20. Plaintiffs next use terms common to mortgage securities, terms that were in 2005
      24   unknown to them. Plaintiffs turn here for definitions to two sources:
      25                    a) The GinnieMae MBS Guide ("GMBS");7 and
      26                    b) The Lehman XS 'Mist 2005-5N Trust Agreement ("LTA"),
           7 Government National Mortgage Association (Ginnie Mae) Mortgage-Backed Securities Guide ("GMBS").
      27     hups://www ginniemae.go assuers/program guidelitts/Pageshnbsguidernmsnx.
           8   The document that established the Trust. Plaintiffs could not attach LTA at filing time (it was too large and
      28
               would be oppressive); but the prospectus is available at: http://www.secinfo.comAlsvrb.z3fz.a.htm.




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                    21. Countrywide, before, in, and after 2005 was an originator, or a lender that moved
       1
           mortgages to issuers like Lehman Brothers, firms that bundled mortgages into pools (collections
       2
           of qualified loans) and derived from these Mortgage-Backed Securities (MBS) in final form:
       3
           certificates.' These certificates were the securities that the Trust sold to investors.
       4
                    22. This process is securitization, conversion to a security of another, already-existing
       5
           something else. In MBS, that something else was a mortgage, or in trusts, hundreds or thousands
       6   of mortgages. Many trusts thus opened with $1 billion+ in assets.'
       7            23. Securitization was not new, nor unlawful, nor high-risk, providing originators and

       8   issuers applied strict underwriting procedures. The early 2000s saw a highly lucrative market,

       9   though; many originators relaxed rather than tightened underwriting practices.

      10           24. By dramatically lowering its underwriting standards, Countrywide rifled high-risk
           loans to pools in higher volume than any other originator (because it wrote more loans).
      11
                   25. Countrywide also became known for grave errors and omissions in record-delivery
      12
           and transfer policies. Countrywide routinely failed to orderly maintain mortgage records or
      13
           deliver these timely to trusts. 'These were deeds, interest transfers, promissory notes, or papers
      14
           that underpinned each mortgage security package's reality.
      15
                   26. By 2011, these problems halted foreclosures in 30 states. The Federal Reserve
      16   System Board and Office of the Comptroller of the Currency ("OCC") issued a report finding
      17   that Countrywide consistently failed to transfer mortgage documents to issuing trusts." These
      18   infirmities triggered lawsuits from institutional investors (labor unions, pensions) that purchased

      19   such certificates, especially from 530 Countrywide trusts."

      20           27. Plaintiffs allege that Countrywide, on 09/15/2005, was legally bound to transfer
           hundreds of mortgages, including ours, to the 'Dust, as per the Trust Agreement. For unclear
      21
           reasons, Countrywide failed to make that transfer by the Trust's Closing Date (10/31/2005)."
      22

      23   9   GMBS, 1-10, MBS Program Participants: they who package pools are issuers; GMBS 4-1, Issuers and
                Responsibilities ("forming eligible pools," and "marketing or holding" the securities); and GMBS, 11-1.
      24       Issuer Responsibilities ("certification" and "final certification.")
           10 The Trust was larger. ("As of the Cut-off date, the Mortgage Loans had an aggregate Scheduled Principal
      25       Balance of 52,757,128,955.71.1 LTA, Page 12, The Certificates.
           11 Inter-agency Review of Foreclosure Policies and Practices (2011). Federal Reserve.
      26   12 In one OCC Consent Order, the Treasury Department wrote plainly: "Bank of America N.A., including in
               its role as successor to Countrywide, engaged in Improper foreclosure practices to cover up the fact that
      27
               issuing trusts lacked legal tide sufficient to foreclose upon underlying mortgage loans." AA-EC-11-12.
      28       April 13, 2011. OCC, U.S. Department of Treasury.
           13 See LTA, Page 8 ("Closing Date: October 31, 2005"). Article I. Definitions.




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                  28. The County Recorder shows no assignment of DOT or beneficial interest in the
      1
          Property from AWL or Countrywide to anyone on 09/15/2005 or any date thereafter (there are no
      2
          recordings at all until 2011, six years after the Trust's closing date).
      3
                  29. In 2007, Countrywide, which held 21 percent of American residential mortgages,
      4
          collapsed. Countrywide found a suitor in Bank of America and on 01/08/2008, these secured
      5   approval for a merger plan. That plan called for Countrywide to form a new entity called Red
      6   Oak Corporation, which it did, on 01/11/2008. The plan, under SEC accession # 8988224-108
      7   and File # 1-12331-01, is public record." Bank of America merged with Red Oak.
      8           30. The County Recorder shows no assignment of DOT or beneficial interest in the
      9   Property between Countrywide, Red Oak, or Bank of America.

     10           31. On 07/19/2011, Recontrust recorded a Corporation Assignment of Deed of Trust to
          the Must, Instrument 20110719-0010560. Plaintiffs attached a true copy and incorporate it here
     11
          as Exhibit 11. Plaintiffs allege that 20110719-0010560 was void, for two reasons. First, the Trust
     12
          had closed to new loans on 10/31/2005, or six years before the 20110719-0010560 recordation.'
     13
          Second, Countrywide's assets, including AWL, passed to Red Oak, and then to Bank of America.
     14
          There is no evidence that AWL, Countrywide, or Bank of America made assignments of DOT to
     15   or anyone. 20110719-0010560 was merely means for Recontrust to (try to) cure Countrywide's
     16   failure to transfer DOT (and Plaintiffs' mortgage) to the Trust before 10/31/2005.
     17           32. In documents, the Rust represents itself as U.S. Bank National Association, as
     18   Trustee For Lehman XS Trust Mortgage Pass-Through Certificates, Series 2005-5N. Authors of

     19   20110719-0010560, however, represented it as U.S. Bank National Association as Trustee For

     20   the LXS 2005-05N Trust Fund. In casual correspondence, this deviance could be acceptable, but
          not for more exacting purposes (e.g. to make a lawful transfer).
     21
                  33. Moreover, 20110719-0010560's last paragraph is suspect; it uses language that
     22
          would render the transfer legitimate but for timeliness: ("TOGETHER WITH THE NOTE OR
     23
          NOTES THEREIN DESCRIBED OR REFERRED TO, THE MONEY DUE, AND TO
     24
          BECOME DUE THEREON WITH INTEREST...") Such an instrument cannot transfer such
     25   elements (notes), nor can such an instrument transmit monies that will become due at some
     26   future date (this is contract language).
     27   14 Order Approving the Acquisition of a Savings Association and Other Non-banking Activities. Federal
     28       Reserve Board, hups://www.federalreserve.govinewsevents/pressiordersiorders20080605al.pdf.
          15 See Trust prospectus, Pages 7, 100 ("Closing Date: October 1, 2005). Article 1. Definitions.



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                  34. Plaintiffs further allege that "T. Sevillano," the "Assistant Secretary" who allegedly
      1
           signed 20110719-0010560, did not have personal knowledge of the facts„ because Sevillano
       2
           signed in Los Angeles County, whereas AWL records were in Delaware. 20110719-0010560
      3
           describes actions that would entail sending Plaintiffs' mortgage file through mail (the transfer
       4
           describes physical files). The instrument suggests that banks use Recorder offices just as litigants
       5   use clerks (to file proofs). Plaintiffs allege that 20110719-0010560 (a void instrument, for
      6    reasons enumerated) is itself defective on its face.
       7          35. After after recording 20110719-0010560 (an instrument that purported to transfer to
      8    the Must everything), Recontrust recorded Exhibit 12, 20110718-00101349-0, Notice of Default
       9   and Election to Sell Under Deed of Trust. Assuming that 20110719-0010560 was a legitimate

     10    document with legal force, Recontrust would no longer retain capacity to record 20110718-
           00101349-0, nor initiate the foreclosure that 20110718-00101349-0 threatens, nor the sale that
      11
           Exhibit 13, 20111017-00154002-0, later threatens. 20110718-00101349-0, taken at face value,
     12
           contradicts its own existence (for, there cannot be more than one party empowered to foreclose).
     13
           Plaintiffs allege that 20110718-00101349-0 is, like its predecessor, void.
     14
                  36. Nearly two years passed between 20110718-00101349-0 and another recording.
     15           37. On 07/24/2014, Defendant SPLS recorded a substitution of trustee naming Nationstar
     16    as beneficiary ("the undersigned is the Beneficiary") and that Nationstar nominated SPLS as the
     17    new trustee. Plaintiffs attached a true copy of that substitution as Exhibit 14 and incorporate it
     18    here, 20140724-00092096-0. Plaintiffs allege that this assignment was fraudulent and void. Even
     19    assuming that Recontrust's 10/18/2011 purported Corporation Assignment of Deed of Trust was
     20    valid (it wasn't), Recontrust made "transfer' to the Mist, not Nationstar. Nationstar could not
           accrue beneficiary status from 20110719-0010560, and Ventura Recorder shows no evidence that
     21
           Nationstar received such beneficiary status from any other means.
     22
                  38. On 07/24/2014, Defendant SPLS recorded a Notice of Rescission of Declaration of
     23
           Default and Demand for Sale. Plaintiffs attached and incorporate a true copy of this SPLS notice
     24
           as Exhibit 15 or 20140724-00092097. In it, SPLS purports to rescind Recontrust's 07/18/2011
     25    Notice of Default, Exhibit 12, 20110718-00101349-0.
     26
     27
     28




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                   39. Also on 07/24/2014, SPLS recorded a new Notice of Default and Election to Sell
       1
           Under Deed of Trust. Plaintiffs attached a true copy of that Notice as Exhibit 16 and incorporate
       2
           it here, 20140724-00092098-0. Plaintiffs allege that when SPLS recorded 20140724-00092098-
       3
           0, SPLS was not the DOT beneficiary, lender, original trustee, or designated agent of the holder
       4
           of beneficial interest. Plaintiffs allege that as such, SPLS's recordation of 20140724-00092098-0
       5   violated California Civil Code section 2924(aX6), and it was not lawful, as per the meaning of
       6   California Civil Code § 1667. 20140724-00092098-0 was for these reasons void.
       7          40. Another two years passed between 20140724-00092098-0 and other recordations.

       8          41. On 08/29/2016, an organization of unknown form called Barrett, Daffin, Frappier,

       9   Treder & Weiss (Barrett) recorded Exhibit 17, 20160829-001232282-0, a Notice of Rescission of

      10   Notice of Default. Plaintiffs attached and incorporate that here. In 20160829-001232282-0,
           Barrett claims to appear as "agent" for a beneficiary. Barrett fails to name that beneficiary and
      11
           fails to reveal how it attained said "agency." Barrett appeared from nowhere, as if the Property's
      12
           previous title chain did not exist, and claimed authority to rescind 20140724-00092098-0.
      13
                  42. On 12/07/2016, Defendant NBS recorded 20161207-0081465-0. Plaintiffs attached a
      14
           true copy of it and incorporate here as Exhibit 18. 20161207-0081465-0 purports to substitute on
      15
           behalf of the Trust NBS as the new trustee and claims the Mist as beneficiary.
      16          43. On 12/08/2016, Defendant NBS recorded a Notice of Default and Election to Sell
      17   Under Deed of Trust, 20161208-00181851-0, Exhibit 19, a true copy of which Plaintiffs attach
      18   and incorporate here. Plaintiffs on knowledge and belief allege that on 12/08/2016, NBS was not

      19   the DOT beneficiary, nor was it the lender's trustee, mortgagee, beneficiary, or authorized agent.

      20   NBS's recordation violated California Civil Code section 2924(aX6); it was not ►awful, as per the
           meaning of California Civil Code § 1667. 20161208-00181851-0 was for these reasons void.
      21
           Nonetheless, NBS sold Plaintiffs' house at a trustee sale (Sale) on 04/05/2016.
      22
                  44. In California, only the trustee, mortgagee, or beneficiary can file a default notice.
     23
           California Civil Code section 2924(a)(1), Kochlon v. Markowitz, (2008) 168 Cal. App. 4th 316,
     24
           334 [85 Cal.Rptr.3d 5321 Or, put another way, only a person entitled to enforce can foreclose.
     25
           As such, a foreclosure undertaken by one with no authority to do so is wrongful for purposes of
     26    such an action. Barrionuevo v. Chase Bank, NA. (N.D. Cal. 2012) 885 F.Supp.2d 964, 972.
     27

     28




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                  45. Only the entity holding the beneficial interest under the deed of trust (the original
      1
          lender, its assignee, or an agent of one of these) may instruct the trustee to commence and
      2
          complete a nonjudicial foreclosure. (California Civil Code section 2924, subd. (a)(1);
      3
          Barrionuevo v. Chase Bank, MA., supra, 885 F.Supp.2d at p. 972.) If a purported assignment
      4
          necessary to the chain by which the foreclosing entity claims that power is absolutely void,
      5   meaning of no legal force or effect whatsoever (Colby v. Title Ins. and Must Co. (1911) 160 Cal.
      6   644; Rest.2d Contracts, § 7, corn. a, p. 20), the foreclosing entity has acted without legal
      7   authority by pursuing a trustee's sale, and such an unauthorized sale constitutes a wrongful
      8   foreclosure. (Barrionuevo v. Chase Bank, NA, at pp. 973-974.)
      9           46. Plaintiffs allege that 20110719-0010560 was an assignment material to the chain by

     10   which Defendants sold Plaintiffs' house. 20110719-0010560 conferred no rights or interest to the

     11   Trust, and the Trust could not grant (to Nationstar or NBS) what it did not have. Plaintiffs allege
          that no Defendant here lawfully possessed power to enforce or foreclose, not on 04/05/2017, nor
     12
          12/08/2016, nor at any other time.
     13
                  47. Plaintiffs on knowledge and belief further allege that Defendants had no means to
     14
          accrue power to enforce, nor did 20110719-0010560 afford them that opportunity. Plaintiffs also
     15
          allege that the Ventura Recorder record reveals no other assignments or transfers (or attempted
     16   assignments or transfers) that could have conferred such rights on Defendants. Defendants, in
     17   fact, triggered California's non-judicial foreclosure process absent authority, and by so doing,
     18   wrongfully foreclosed on Plaintiffs' house.
     19          48. Defendant NBS, at behest of remaining Defendants, triggered California's non-

     20   judicial foreclosure apparatus (by filing 20161208-00181851-0, Notice of Default) and by

     21   carrying the process through to a trustee sale. NBS did this without agency authority from the
          lender, which NBS was required to have under California Civil Code section 2924(a)(b). Nor
     22
          could the Trust confer on NBS authority, because the Trust had none to confer.
     23
                 49. Plaintiffs dispute 20110719-0010560's validity and Plaintiffs allege that through and
    24
          from 20110719-0010560, no legal interest under the DOT or associated promissory note (Note)
    25
          transferred or transmitted to any Defendant, for the following:
    26
    27               49.Ia) Plaintiffs allege that their loan was with AWL;

    28




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                      49.[b] To the extent MERS affected 20110719-0010560, Plaintiffs allege that MERS
      1
                      could act solely as nominee for AWL, but AWL had by then sold Plaintiffs' loan and
      2
                      no longer retained interest in it. Moreover, AWL had merged into Red Oak. These
      3
                      two conditions left behind nothing for MERS (or any other party) to represent as
      4
                      AWL agent or nominee, at least not with respect to Plaintiffs' Property, nor the DOT,
      5               nor the Note, nor any other beneficial interest therein;
      6
                      49.[c] Plaintiffs allege that that "T. Sevillano," the "Assistant Secretary" who
      7
                      allegedly signed 20110719-0010560 did not have authority to sign on behalf of
      8
                      MERS, nor could Sevillano have had personal knowledge of the facts, because she
      9
                      had never seen or learned whether the mortgage loan was transferred, she never
     10
                      examined documents to attest its state, and she never viewed the DOT or Note;
     11

     12               49.[d] Plaintiffs further allege that "T. Sevillano," who in 20110719-0010560

     13               purports to sign for MERS, is Tina Sevillano of Filmore, California, then a
                      Recontrust employee, and not an agent, employee, or officer of MERS. As such,
     14
                      Sevillano could not sign for MERS;
     15

     16           50.20110719-0010560 is not merely a deceptive and fraudulent "assignment;" it was, by
     17   strict interpretation, a criminal violation. California Penal Code section 115 provides that "Every

     18   person who knowingly procures or offers any false or forged instrument to be filed, registered, or

     19   recorded in any public office within this state, which instrument, if genuine, might be filed,

     20   registered, or recorded under any law of this state or of the United States, is guilty of a felony."
          Plaintiffs allege that Defendants' conduct falls squarely under section 115.
     21
                 51. Plaintiffs on knowledge and belief allege that when NBS recorded Ventura Recorder
     22
          Instrument 20161208-00181851-0 (Exhibit 19), NBS was not the beneficiary, lender, original
     23
          trustee, or the designated agent of the beneficiary. Plaintiffs further allege that neither USBNA
     24
          nor Nationstar was the legal, true beneficiary under DOT. USBNA and Nationstar never realized
     25
          beneficial interest from 20110719-0010560, and thus could not confer on NBS what they did not
     26   themselves possess. NBS's recordation, absent authority, was thus a violation of California Civil
     27   Code section 2924(a)(6), and not lawful, as per meaning of California Civil Code § 1667. NBS's
     28   Notice of Default (20161208-00181851-0) was for these reasons void.




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                                                                                                      Exhibit 1
                                                                                                          20
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                                  5. FIRST CAUSE OF ACTION
     1                   IWRONGFUL FORECLOSURE/INJUNCTIVE RELIEF)
     2          AGAINST DEFENDANTS USBNA. NATIONSTAR. NBS. SPLS. AND DOES 1-10

     3
                  52. Plaintiffs realleges allegations in Paragraphs 1-51.
      4
                  53. As set forth above, the Property has been wrongfully foreclosed upon which property
      5   is unique. This foreclosure is wrongful in that the trustee that held the sale was not the proper
      6   trustee at time of sale and therefore, the sale of the Property is void as a matter of law and not in
      7   compliance with California Civil Code section 2924 et. Seq. Or, in the alternative, the party that

     8    held the sale and acquired the Property by way of a supposed bid was not the holder of the Note

      9   and was not the beneficiary of the DOT and could not have submitted a credit bid. The Holder of
          the Note and Beneficiary of the DOT was AWL. Despite this, the Trust, through its agents and
     10
          servants NBS and Nationstar held the sale. Under California law, only the beneficiary of a deed
     11
          of trust may hold a foredosure sale. As a result, the Sale held by NBS on behalf of the Trust was
     12
          in fact unlawful and fraudulent.
     13
                  54. Plaintiff need not allege prejudice because a sale held by an entity other than the true
     14
          trustee is void as a matter of law (as Plaintiffs have alleged herein), and because the claims made
     15   by Plaintiff do not concern procedural errors in the sale or process, but instead show that the
     16   parties that held the sale (NBS, Nationstar, the Trust) had no right to do so. As a result of the
     17   foreclosure sale of the Property by NBS, Nationstar, and the Trust, Plaintiffs suffered prejudice.

     18           55. Plaintiffs have no duty or obligation to tender amounts claimed due on the subject

     19   Note and subject DOT in that to require them to do so to parties that have no right title or interest

     20   in the subject Property, Note, and DOT would be inequitable and because the foreclosure sale by
          Defendants and each of them is void as a matter of law as set forth herein and pursuant to the
     21
          authority of DU:flock v. Emerald Properties (2000) 81 Cal.App.4th 868, 876. The foreclosure sale
     22
          is void as a matter of law when held by any entity other than the proper trustee. As set out herein,
     23
          NBS was not the proper trustee but rather, received appointment by an entity that had no right to
     24
          do so. Further, a real and true dispute exists as to the identity of the true holder of the subject
     25
          Note and the true Beneficiary of the DOT, based on the public record enumerated herein.
     26           56. As a direct and proximate result of the wrongful foreclosure on the subject Property,
     27   Plaintiffs have been damaged in sums exceeding $50,000.00, subject to proof at trial.
     28




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                                                                                                       Exhibit 1
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                    57. Plaintiffs further request that the court issue an order that the Sale of the subject
      1
          Property by NBS, Nationstar, and the Trust was a void act of no legal affect.
      2
                    58. Plaintiffs will suffer irreparable harm consisting of the loss of their unique and
      3
          valuable Property should the relief herein not be granted, for which there is no adequate remedy
      4
          at law.
      5                                    6. SECOND CAUSE OF ACTION
      6                                 CANCELLATION OF INSTRUMENTS
                                            AGAINST ALL DEFF_NDART‘
      7
          59. Plaintiff realleges allegations in Paragraphs 1-58.
          60. There are in existence the following documents in Ventura County Recorder:
      9
                       60.a] A 07/19/2011 Recontrust Corporation Assignment of Deed of Trust, purporting
     10                to transfer all grants, assigns, and transfer to "U.S. Bank National Association, as
     11                Ttustee For Lehman XS Trust Mortgage Pass-Through Certificates, Series 2005-5N."
     12                Ventura Recorder Instrument 20110719-0010560;
     13
                       60.b) A 07/18/2011 Notice of Default and Election to Sell Under Deed of Must,
     14
                       Ventura Recorder Instrument 20110718-00101349-0, a true copy of which Plaintiffs
     15
                       attached hereto as Exhibit 12;
     16
     17                60.6 A 10/17/2011 Recontrust Notice of Trustee's Sale, Ventura County Instrument
     18                20111017-00154002-0, a true copy of which Plaintiffs attached hereto as Exhibit 13;
     19
                       60.d]A 07/24/2014 SPLS Substitution of Trustee, Ventura Recorder Instrument
     20
                       20140724-00092096-0, a true copy of which Plaintiffs attached hereto as Exhibit 14;
     21
     22                60.e]A07/24/2014 SPLS Notice of Rescission of Declaration of Default and Demand
     23                for Sale, Ventura County Recorder Instrument 20140724-00092097, a true copy of
     24                which Plaintiffs attached hereto as Exhibit IS;
     25
                       60.f]A 07/24/2014 SPLS Notice of Default and Election to Sell Under Deed of Thrst,
     26
                       Ventura County Recorder Instrument 20140724-00092098-0, a true copy of which
     27
                       Plaintiffs attached hereto as Exhibit 16;
     28



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                                                                                                          Exhibit 1
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                      60.g] A 12/07/2016 NBS Substitution of Trustee, Ventura County Recorder Instrument
      1
                      20161207-0081465-0, a true copy of which Plaintiffs attached hereto as Exhibit 18;
      2
      3               60.1,] A 12/08/2016 NBS Notice of Default and Election to Sell Under Deed of Trust,
      4               Ventura County Recorder Instrument 20161208-00181851-0, a true copy of which
      5               Plaintiffs attached hereto as Exhibit 19.

      6
                  61. The above documents initially appear valid on their faces, but they are unlawful,
      7
          defective, void, and of no force or affect regarding Plaintiffs' (or Defendants') interest in the
      8
          Property.
      9           62. These above-mentioned documents are a cloud on Plaintiffs' title and to the subject
     10   Property, which tends to depreciate its market value, restricts Plaintiffs full use and enjoyment of
     11   it, and hinder Plaintiffs unrestricted rights to the Property.
     12   63. If the above-enumerated unlawful, defective, void documents are not canceled, Plaintiffs

     13   have a reasonable apprehension that they will suffer harm or less, especially to parties with no

     14   right, title, or interest in or to the subject Property.
                                             11:111RELCALSLQEALIKth
     15
                                                    QUIET TITLE
     16                                      AGAINST ALL DEFENDANTS

     17
                  64. Plaintiffs reallege allegations in Paragraphs 1-63.
     18
                  65. Plaintiffs Felicia and Liloi Tuitama are and were at all times owners of the real
     19   property located at 1831 Devonshire Dr. Oxnard, CA 93030 (the Property), that bears this
     20   description:
     21         All that certain real property situated in the County of Venture, State of California,
                described as follows: Lot 230 of 'fract No. 3051-3, in the City of Oxnard, County of
     22         Venture, State of California, as per map recorded in Book 112, Page(s) 11 through 17
     23         inclusive of maps, in the office of the County Recorder of said County. Except therefrom
                the interest conveyed to Helen M. Borchard, Frances John Henson, Margaret Mary
     24         Anderson and Ralph William Borrchard, Jr., in and to the oil, gas, other hydrocarbon
                substances and minerals in and under said land, but without the right to enter on the
     25         surface thereof or within five hundred (500) feet beneath the surface as conveyed in the
     26         office of the County Recorder of said County. Deed recorded December 23, 1980 in Book
                5801, page 35, of Official Records and as reserved in deed recorded January 30, 1981 as
     27         document No. 9998 and 10002 of Official Records.
     28



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                                                                                                        Exhibit 1
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                Also except the interest conveyed to Vincent Friedrich, Ellen C. Derricks, Barbara M.
     1          Friedrich, Mary Patrician Douglas, Betty Ann Dempsey and Jeanne M. Friedrich in and to
     2          the oil, gas, other hydrocarbon substances and minerals in and under said land but without
                the right to enter on the surface thereof or within five hundred (500) feet beneath the
     3          surface as conveyed in deed recorded December 23, 1980 in Book 5801, page 38 official
                records and as reserved in deeds recorded January 30, 1981 as document No. 999, 10000,
     4
                and 10002. Also except the interest conveyed to Margaret D. Borchard, Francis Robert
     5          Borchard and Joseph Eugene Borchard in and to the oil, gas other hydrocarbon substances
                and minerals in and under said land but without the right to enter on the surface thereof or
     6          within five hundred (500) feet beneath the surface as conveyed in deed recorded
     7          December 30, 1980 in Book 5804, page 774, official records and as reserved in deed
                Recorder January 30, 1981 as document No. 9998 and 10002. Assessor's Parcel Number
     8          181-0-171-055
     9   66. Plaintiffs seek to quiet against the following claims of Defendants:
    10
                 66.a] A 07/24/2014 SPLS Notice of Default and Election to Sell Under Deed of Trust,
    11
         Ventura County Recorder Instrument 20140724-00092098-0, a true copy of which Plaintiffs
    12
         attached hereto as Exhibit 16;
    13
    14           66.b]A 12/07/2016 NBS Substitution of Trustee, Ventura County Recorder Instrument
    15   20161207-0081465-0, a true copy of which Plaintiffs attached hereto as Exhibit 18;
    16
                 66.c] A 12/08/2016 NBS Notice of Default and Election to Sell Under Deed of Trust,
    17
         Ventura County Recorder Instrument 20161208-00181851-0, a true copy of which Plaintiffs
    18
         attached hereto as Exhibit 19.
    19           67. Defendants USBNA, Nationstar, NBS, SPLS, and DOES 1-10 do not today have and
    20   they have never had any equitable or legal beneficial interest in the Property.
    21           68. Plaintiff names in this action all persons or entities unknown claiming a) any
    22   equitable or legal estate, interest, lien, right, or title in the Plaintiffs' real property as described in
    23   this First Verified Complaint that is adverse to Plaintiffs' title; orb) any cloud on Plaintiffs' title

    24   to the Property.
                 69. The claims of each unknown Defendant are without any equitable or legal estate,
    25
         interest, lien, right, or title in the Plaintiffs' real property as described in this First Verified
    26
         Complaint, and said Defendants do not have any equitable or legal estate, interest, lien, right, or
    27
         title in the Plaintiffs' real property.
    28




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                                                                                                           Exhibit 1
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                  70. Plaintiffs have no duty or obligation to tender amounts claimed due on the subject
      1
          Note and subject DOT in that to require them to do so to parties that have no right title or interest
      2
          in the subject Property, Note, and DOT would be inequitable and because the foreclosure sale by
      3
          Defendants and each of them is void as a matter of law as set forth herein and pursuant to the
      4
          authority of Dimock v. Emerald Properties (2000) 81 Cal.App.4th 868, 876. The foreclosure sale
      5   is void as a matter of law when held by any entity other than the proper trustee. As set out herein,
      6   NBS was not the proper trustee but rather, received appointment by an entity that had no right to
      7   do so. Further, a real and true dispute exists as to the identity of the true holder of the subject
      8   Note and the true Beneficiary of the DOT, based on the public record enumerated herein.
      9                                                  RELIEF

     10   WHEREFORE, Plaintiffs pray for the following relief:
                  On the first cause of action,
     11
                          1.For actual or compensatory damages of $50,000.00 subject to proof at trial;
     12
                          2. That this court issue a temporary restraining order and preliminary injunction
     13
          enjoining the eviction of Plaintiffs or their tenants pending full disposition of this action on the
     14
          merits, and for permanent injunctive relief, should Plaintiffs prevail on the merits, and such
     15   further relief as it just and proper.
     16           3. For a declaration that Defendants' sale of the Property was a void act of no legal affect.
     17           On the second cause of action:
     18           1. For an order canceling the following documents:
     19              a] A 07/19/2011 Recontrust Corporation Assignment of Deed of Trust, purporting to

     20              transfer all grants, assigns, and transfer to "U.S. Bank National Association, as
                     'frustee For Lehman XS 'Mist Mortgage Pass-Through Certificates, Series 2005-5N."
     21
                     Ventura Recorder Instrument 20110719-0010560;
     22
     23              b] A 07/18/2011 Notice of Default and Election to Sell Under Deed of Trust, Ventura
     24              Recorder Instrument 20110718-00101349-0, a true copy of which Plaintiffs attached
     25              hereto as Exhibit 12;
     26
                     c] A 10/17/2011 Recontrust Notice ofil-ustee's Sale, Ventura County Instrument
     27
                     20111017-00154002-0, a true copy of which Plaintiffs attached hereto as Exhibit 13;
     28




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                                                                                                       Exhibit 1
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     1
                    d) A 07/24/2014 SPLS Substitution of Trustee, Ventura Recorder Instrument
      2             20140724-00092096-0, a true copy of which Plaintiffs attached hereto as Exhibit 14;
      3
                    e) A 07/24/2014 SPLS Notice of Rescission of Declaration of Default and Demand for
      4
                    Sale, Ventura County Recorder Instrument 20140724-00092097, a true copy of which
      5
                    Plaintiffs attached hereto as Exhibit 15;
      6
      7             f] A 07/24/2014 SPLS Notice of Default and Election to Sell Under Deed of Trust,
      8             Ventura County Recorder Instrument 20140724-00092098-0, a true copy of which
      9             Plaintiffs attached hereto as Exhibit 16;

     10
                    OA 12/07/2016 NBS Substitution of Trustee, Ventura County Recorder Instrument
     11
                    20161207-0081465-0, a true copy of which Plaintiffs attached hereto as Exhibit 18;
     12
     13             h] A 12/08/2016 NBS Notice of Default and Election to Sell Under Deed of Trust,
                    Ventura County Recorder Instrument 20161208-00181851-0, a true copy of which
     14
                    Plaintiffs attached hereto as Exhibit 19.
     15
     16         On the third cause of action:
     17         1. An order that quiets title against Defendants known and unknown and that cancels
     18   these documents:
     19
                66.a] A 07/24/2014 SPLS Notice of Default and Election to Sell Under Deed of 'Mist,
     20
                Ventura County Recorder Instrument 20140724-00092098-0, a true copy of which
     21
                 Plaintiffs attached hereto as Exhibit 16;
     22
     23         66.1)] A 12/07/2016 NBS Substitution of Trustee, Ventura County Recorder Instrument

     24         20161207-0081465-0, a true copy of which Plaintiffs attached hereto as Exhibit 18;
                66.c) A 12/08/2016 NBS Notice of Default and Election to Sell Under Deed of Trust,
     25
                Ventura County Recorder Instrument 20161208-00181851-0, a true copy of which
     26
                Plaintiffs attached hereto as Exhibit 19.
     27
     28



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           On all causes of action:
       1
                  1. Cost of suit herein.
       2
       3
           Dated: Monday, April 3, 2017
       4

       5   We, the Plaintiffs in this action hereby declare that we have read the foregoing First Verified
       6   Complaint and know the contents thereof and believe the matter stated to be of our own
       7   knowledge, except those matters that we alleged on information and belief, and as those, we
       8   believe them.

       9
      10   We hereby declare under penalty of perjury that the foregoing is true and correct, and this
           verification was done in Bowdon, Georgia on Sunday, April 2, 2017.
      11
      12
                                                                p2             14.4 .forrtC1/4
      13                                                              Ibnama, party in pro per
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                                                                BOWDON, GA 301080
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                                                                Li i Tuitama, arty in pro per
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                                                                P.O. BOX 506
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                                                                                                    Exhibit 1
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